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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

DANA LYNCH,
                                                              Case No. 1:14-cv-1145
               Plaintiff,
                                                              HON. GORDON J. QUIST
v.

ENTERPRISE CHECK SYSTEMS INC et al.,

            Defendants.
_____________________________________/

                                     NOTICE OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff files this

Notice of Dismissal, to dismiss this lawsuit, with prejudice, as to all defendants, and with no

award of costs or attorney fees to any party.

Dated: December 23, 2014                              /s/ Phillip C. Rogers
                                                      Phillip C. Rogers (P34356)
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